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 7 General Bankruptcy Counsel for Jinzheng Group
   (USA) LLC, Debtor and Debtor in Possession           CHANGES MADE BY COURT
 8
                           UNITED STATES BANKRUPTCY COURT
 9
                            CENTRAL DISTRICT OF CALIFORNIA
10
                                    LOS ANGELES DIVISION
11
   In re                                         Case No. 2:21-bk-16674-ER
12
   JINZHENG GROUP (USA) LLC,                     Chapter 11
13
                Debtor and Debtor in             ORDER APPROVING STIPULATION TO
14              Possession                       CONTINUE HEARING ON RELIEF
                                                 FROM STAY MOTION FILED BY
15                                               ROYALTY EQUITY LENDING LLC/
                                                 BOBS LLC [DOC. NO. 395]
16
                                                 Old Date
17                                               Date:    October 31, 2022
                                                 Time:    10:00 a.m.
18
                .                                New Date
19                                               Date:    November 14, 2022
                                                 Time:    10:00 a.m.
20                                               Crtrm.: 1586
                                                          255 East Temple Street
21                                                        Los Angeles, CA 90012

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Case 2:21-bk-16674-ER           Doc 402 Filed 10/17/22 Entered 10/17/22 16:38:21             Desc
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 1            Jinzheng Group (USA) LLC, debtor and debtor in possession (the “Debtor”), on the one

 2 hand, and Royalty Equity Lending LLC/ Bobs LLC (“REL”), on the other hand, having submitted

 3 on October 14, 2022 their Stipulation to Continue Hearing on Relief From Stay Motion filed by

 4 Royalty Equity Lending LLC/ Bobs LLC [doc. no. 395]; good cause appearing therefor, it is hereby

 5            ORDERED THAT:

 6            1.       The Stipulation is approved.

 7            2.       The hearing on the Motion for Relief from the Automatic Stay Under 11 U.S.C. §

 8 362 (Real Property) (doc. no. 395) (the “RFS Motion”) is continued from October 31, 2022, at

 9 10:00 a.m., to November 14, 2022, at 10:00 a.m. Briefing deadlines on the RFS Motion shall be

10 calculated in accordance with the continued hearing date.

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      Date: October 17, 2022
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